Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner) R Ee Ceres -

UNITED STATES DISTRICT COURT SEP 742909
for the US. District Court

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Division

Case No.

(to be filled in by the Clerk's Office)

‘Veiskan Little

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

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Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names. Do not include addresses here.)

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COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Prisoner Complaint)

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

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I. The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if
needed.

Name Tristoen — Htle

All other names by which

you have been known:

ID Number P2% g Wf

Current Institution Dp | CA S40 LD A if
Address IW N1CHaS5_ cool al
Choyaller Ty% 2TODS
City State Zip Code”

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. Make sure that the defendant(s)
listed below are identical to those contained in the above caption. For an individual defendant, include
the person’s job or title (if known) and check whether you are bringing this complaint against them in their
individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. |

Name Drcson CO. Sherif (; de pachment

Job or Title (if known) DiCb8an,_ 2 Co Ti al ‘|
Shield Number YA
Employer Vicv.cow Co. Charis Acoodprerw’
Address He county sail Deve. Chaclotde TA
Charlotte, TN 27094
City " State Zip Code

Individual capacity Official capacity

Defendant No. 2
Name
Job or Title (if known)
Shield Number
Employer
Address

City State Zip Code
iW Individual capacity Official capacity

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Defendant No. 3

Name

Job or Title (if known)

Shield Number

Employer

Address

City State Zip Code
[] Individual capacity [| Official capacity

Defendant No. 4

Name

Job or Title (if known)
Shield Number
Employer

Address

City State Zip Code
[ ] Individual capacity [] Official capacity

Il. Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A. Are you bringing suit against (check all that apply):
[ ] Federal officials (a Bivens claim)

N)sixe or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

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C. Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal

officials? N La

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III.

IV.

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D. Section 1983 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages if needed.

Prisoner Status

Indicate whether you are a prisoner or other confined person as follows (check all that apply):

[| Pretrial detainee

Civilly committed detainee
Immigration detainee

Convicted and sentenced state prisoner

Convicted and sentenced federal prisoner

Other (explain) Sentcace TO | / v9 1 /) ol iC Say CA YS al

Statement of Claim

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State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A. If the events giving rise to your claim arose outside an institution, describe where and when they arose.

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B. If the events giving rise to your claim arose in an institution, describe where and when they arose.

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C. What date and approximate time did the events giving rise to your claim(s) occur?

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D, What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what happened?)

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Vv. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.

Wi

VI. Relief
State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.

If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

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VU.

Exhaustion of Administrative Remedies Administrative Procedures

The Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e(a), requires that “[n]o action shall be brought
with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined
in any jail, prison, or other correctional facility until such administrative remedies as are available are
exhausted.”

Administrative remedies are also known as grievance procedures, Your case may be dismissed if you have not
exhausted your administrative remedies.

A. Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

Yes
[| No

If yes, name the jail, prison, or other correctional facility where you were confined at the time of the
events giving rise to your claim(s).

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B. Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance
procedure?

Yes
[| No
[| Do not know

C. Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s) arose
cover some or all of your claims?

[| Yes
[| No

Hoo not know

If yes, which claim(s)?

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D.

Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose
congerning the facts relating to this complaint?

Yes

[| No

If no, did you file a grievance about the events described in this complaint at any other jail, prison, or
other correctional facility?

[| Yes
L] No

If you did file a grievance:

1. Where did you file the grievance?

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2. What did you claim in your grievance?

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3. What was the result, if any? T Was To / d T l ok + Th ey W MN e
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4. What steps, if any, did you take to appeal that decision? Is the grievance process completed? If
not, explain why not. (Describe all efforts to appeal to the highest level of the grievance process.)

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F, If you did not file a grievance:

1. If there are any reasons why you did not file a grievance, state them here:

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2. Ifyou did not file a grievance but you did inform officials of your claim, state who you informed,
when and how, and their response, if any:

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G. Please set forth any additional information that is relevant to the exhaustion of your administrative
remedies.

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(Note: You may attach as exhibits to this complaint any documents related to the exhaustion of your
administrative remedies.)

VII. Previous Lawsuits
The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in federal court without paying
the filing fee if that prisoner has “on three or more prior occasions, while incarcerated or detained in any facility,
brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
danger of serious physical injury.” 28 U.S.C. § 1915(g).

To the best of your knowledge, have you had a case dismissed based on this “three strikes rule”?

[| Yes
NX No

If yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible.

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A. Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
action?

[ ] Yes
No

B. If your answer to A is yes, describe each lawsuit by answering questions | through 7 below. (If there is
more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

1. Parties to the previous lawsuit

Plaintiff(s) rN
Defendant(s) iL VA
7

2. Court (if federal court, name the district; if state court, name the county and State)
DG
7
3. Docket or index number
/
4, Name of Judge assigned to your case

Aa
Mi

5. Approximate date of filing lawsuit
NA
YN
6. Is the case still pending?
[| Yes
[_]No

If no, give the approximate date of disposition. fi Ia,

7. What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

Ve

C, Have you filed other lawsuits in state or federal court otherwise relating to the conditions of your
imprisonment? fl Me

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[| Yes
J No

D. If your answer to C is yes, describe each lawsuit by answering questions | through 7 below. ([f there is
more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

1. Parties to the previous lawsuit

Plaintiff(s) nA

Cr

Defendant(s) 1) Lh

2. Court (if federal court, name the district; if state court, name the county and State)

Li

3. Docket or index number

Qa

4. Name of Judge assigned to your case

YL

5, Approximate date of filing lawsuit
np
6. Is the case still pending?
[| Yes
[| No

If no, give the approximate date of disposition VY) JA
4 U7

7. What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

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IX.

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: 6 / sO J, 2%
7 7 C / .
Signature of Plaintiff TS. Ni by y Lily /
VS

Printed Name of Plaintiff Therapy t Wt)
Prison Identification # 4 ™@ a TL.
Prison Address DicVscan 2or wary) Soul Charolo Le yh

B. For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm
Address

City State Zip Code
Telephone Number
E-mail Address

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